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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION

GWANJUN KIM,

                       Plaintiff,
                                                      Case No. 1:06-CV-683
v.
                                                      HON. GORDON J. QUIST
UNITED STATES DEPARTMENT
OF LABOR, et al,

                       Defendants.
                                          /


                                    CASE MANAGEMENT ORDER

               IT IS HEREBY ORDERED:

               1.      TRIAL DATE AND SETTING: This case is scheduled for a non-jury trial on

at Tuesday, April 8, 2008, 9:00 a.m. before the Honorable Gordon J. Quist. Court will convene

at 8:30 a.m. to address preliminary matters.

               2.      JOINDER OF PARTIES AND AMENDMENTS OF PLEADINGS: All motions

for joinder of parties and all motions to amend the pleadings must be filed by May 13, 2007.

               3.      DISCLOSURES AND EXCHANGES: On or before May 13, 2007, each party

shall, without awaiting a discovery request, provide to the other parties that information required by

Fed. R. Civ. P. 26(a)(1).

               No later than June 13, 2007, plaintiff shall identify by name, address and area of

expertise, all testifying experts. Defendants shall produce such information no later than July 13,

2007. The parties do not intend to exchange expert witness reports as contemplated by Fed. R.

Civ. P. 26(a)(2). The parties are unable to agree on voluntary production at this time.

               4.      DISCOVERY: All discovery proceedings shall be completed no later than

October 1, 2007, and shall not continue beyond this date. All interrogatories, requests for

admissions, and other written discovery requests must be served no later than thirty days before
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the close of discovery.     All depositions must be completed before the close of discovery.

Interrogatories will be limited to 25 single-part questions and depositions will be limited to 10 fact

witnesses per side. The time limitations for depositions set forth in Rule 30(d)(2) apply to this case.

There shall be no deviations from this order without prior approval of the court upon good cause

shown.

                 5.     MOTIONS:

                 a.     Non-dispositive motions shall be filed in accordance with W.D. Mich. LCivR.

7.3. They may be referred to Magistrate Judge Hugh W. Brenneman, Jr., 582 Ford Federal

Building, 110 Michigan, N.W., Grand Rapids, Michigan, pursuant to 28 U.S.C. § 636 (b)(1)(A). In

accordance with 28 U.S.C. § 471, et seq., it is the policy of this Court to prohibit the consideration

of discovery motions unless accompanied by a certification that the moving party has made a

reasonable and good faith effort to reach agreement with opposing counsel on the matters set forth

in the motion.

                 b.     Dispositive motions shall be filed in accordance with W.D. Mich. LCivR 7.2

by November 1, 2007. If dispositive motions are based on supporting documents such as

depositions or answers to interrogatories, only those excerpts which are relevant to the motion shall

be filed.

                 c.     Motions in limine shall be filed on or before the date for filing the proposed

Final Pretrial Order.

                 6.     ALTERNATIVE DISPUTE RESOLUTION: This matter will not be submitted

to Alternative Dispute Resolution at ths time.

                 7.     FINAL PRETRIAL CONFERENCE: A final pretrial conference is hereby

scheduled for Monday, March 24, 2008 at 2:00 p.m. before Judge Quist.




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                8.      PREPARATION OF PROPOSED FINAL PRETRIAL ORDER: A proposed

pretrial order, entitled "Final Pretrial Order" shall be prepared jointly by counsel and filed three (3)

business days prior to the final pretrial conference in the following form:

                A final pretrial conference was held on the ___ day of ______________.
                Appearing for the parties as counsel were:

                        (List the counsel who will attend the pretrial conference.)

                1)      Exhibits: The following exhibits will be offered by the plaintiff
                        and the defendant:

                        (List separately for each party all exhibits, including
                        demonstrative evidence and summaries of other
                        evidence, by name and number. Plaintiff shall use
                        numbers [1-99]; defendant shall use letters [A-Z].
                        Indicate with respect to each exhibit whether and for
                        what reason its admissibility is objected to. Exhibits
                        expected to be used solely for impeachment
                        purposes need not be numbered or listed until
                        identified at trial. Each party shall identify its exhibits
                        on a form similar to Exhibit 1, attached to this Order.
                          The complete list of exhibits on a form similar to
                        Exhibit 1 must be produced at the final pretrial
                        conference. Failure to list an exhibit required to be
                        listed by this Order will result, except upon a showing
                        of good cause, in a determination of non-admissibility
                        at trial. Objections not contained in the Pretrial
                        Order, other than objections under Evidence Rule
                        402 or 403, shall be deemed waived except for good
                        cause shown. See Fed. R. Civ. P. 26(a)(3).)

                2)      Uncontroverted Facts: The parties have agreed that the
                        following may be accepted as established facts:

                                (State in detail all uncontroverted facts.)

                3)      Controverted Facts and Unresolved Issues: The factual
                        issues remaining to be determined and issues of law for the
                        Court's determination are:

                                (Set out each issue which is genuinely
                                controverted, including issues on the merits
                                and other matters which should be drawn to
                                the Court's attention.)

                4)      Witnesses:

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                 a.     Non-expert witnesses to be called by the
                        plaintiff and defendant, except those who may
                        be called for impeachment purposes only,
                        are:

                        (List names, addresses, and telephone
                        numbers of all non-experts who will testify.
                        Indicate whether they are expected to testify
                        in person, by deposition videotape, or by
                        reading of their deposition transcript. Indicate
                        all objections to the anticipated testimony of
                        each non-expert witness. For each witness
                        listed, indicate whether the witness will be
                        called or merely may be called to testify.)

                 b.     Expert witnesses to be called by the plaintiff
                        and defendant, except those who may be
                        called for impeachment purposes only, are:

                        (List names, addresses, and telephone
                        numbers of all experts who will testify,
                        providing a brief summary of their
                        qualifications and a statement of the scientific
                        or medical field(s) in which they are offered
                        as experts. Indicate whether they will testify
                        in person, by deposition videotape, or by
                        reading of their deposition transcript. Indicate
                        all objections to the qualifications or
                        anticipated testimony of each expert witness.)

                 It is understood that, except upon a showing of good cause, no
                 witness whose name and address does not appear in the lists
                 required by subsections (a) and (b) will be permitted to testify for any
                 purpose, except impeachment, if the opposing party objects. Any
                 objection to the use of a deposition under Fed. R. Civ. P. 32(a) not
                 reflected in the Pretrial Order shall be deemed waived, except for
                 good cause shown.

           5)    Depositions and Other Discovery Documents:

                 All depositions, answers to written interrogatories, and
                 requests for admissions, or portions thereof, that are
                 expected to be offered in evidence by the plaintiff and the
                 defendant are:

                        (Designate portions of depositions by page and line
                        number. Designate answers to interrogatories and
                        requests for admissions by answer or request

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                               number. Designation need not be made of portions
                               that may be used, if at all, as impeachment of an
                               adverse party. Indicate any objections to proposed
                               deposition testimony, answers to interrogatories, and
                               admissions.)

               6)      Length of Trial: Counsel estimate the trial will last approximately ** days,
                       total, allocated as follows: ____ days for plaintiff’s case; ____ days for
                       defendant’s case;        days for other parties.

               7)      Prospects of Settlement: The status of settlement negotiations is:

                               (Indicate persons present during negotiations,
                               progress toward settlement, and issues that are
                               obstacles to settlement.)

               The proposed Final Pretrial Order will be signed by all counsel, signifying

acceptance, and upon approval by the Court, with such additions as are necessary, will be signed

by the Court as an order reflecting the final pretrial conference.

                9.     MATTERS        TO       BE   CONSIDERED       AT    THE     FINAL PRETRIAL

CONFERENCE: At the final pretrial conference, the parties and the Court will formulate a plan for

trial, including a program for facilitating the admission of evidence, consider the prospects of

settlement, and consider such other matters as may aid in the trial or other disposition of the action.

Unless excused upon a showing of good cause, the attorney who is to conduct the trial shall attend

the pretrial conference and should be accompanied by his/her clients.

               10.     PREPARATION FOR THE TRIAL:

               a.      Each party shall file the following not later than three (3) business days prior

to the commencement of the trial:

                       i.      Trial briefs.

                       ii.     A joint statement of the case and statement of the elements that must

be proven by each party. If the parties are unable to agree on the language of a joint statement of

the case, then separate, concise, non-argumentative statements shall be filed.




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Dated: April 16, 2007              /s/ Hugh W. Brenneman, Jr.
                                   Hugh W. Brenneman, Jr.
                                   United States Magistrate Judge




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                           ATTACHMENT - EXHIBIT 1

Exhibit      Description              Offered   Objection   Date      Date
No./Letter                            By                    Offered   Received
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                           Information and Guidelines

                               for Practice before

                          The Honorable Gordon J. Quist
                                       Judge
                            United States District Court
                       for the Western District of Michigan


                                      2005




                              Hon. Gordon J. Quist
                             482 Federal Courthouse
                               110 Michigan, NW
                       Grand Rapids, Michigan 49503-2363
                                 (616) 456-2253


January, 2005
Civil
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Communications and General Information

1.     Addresses and Telephone Numbers

               United States District Court
               482 Federal Courthouse
               110 Michigan, NW
               Grand Rapids, Michigan 49503-2363
               Telephone: 616/456-2253
               FAX: 616/456-2243

               Judge Gordon J. Quist                             456-2253

               Judge Quist's Secretary --
                Jane M. Tepper                                   456-2253

               Judge Quist's Law Clerks --
                Philip G. Henderson
                Scarlett Du
                Diana Schad

               Case Manager --
                Melva I. Ludge                                   456-2327

               U.S. Court Reporter --
                Diane Calsbeek                                   451-3587

               Magistrate Judge --
                Hon. Hugh W. Brenneman                   456-2568
                United States District Court
                582 Federal Courthouse
                110 Michigan, N.W.
                Grand Rapids, Michigan 49503

               District Court Clerk's Office --
                Ronald C. Weston, Sr., Clerk of Court            456-2381
                United States District Court
                399 Federal Courthouse
                110 Michigan, NW
                Grand Rapids, Michigan 49503-2363

2.     Hours

       The Judge's Office will be open Monday through Friday from 8:30 AM to 5:00 PM.

3.     Calendar

       The Case Manager is in charge of all calendar matters. If you would like an adjournment
of a hearing on a motion you must first reach agreement with your opposing counsel and then

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contact the Case Manager. In situations where an opposing attorney will not consent to an
adjournment, the party requesting the adjournment should send a letter stating reasons for requesting
the adjournment. Such letters should be directed to the Case Manager. It is incumbent upon the
party requesting an adjournment to notify the opposing party of the request and, if granted, the new
hearing date.

       Do not contact the Judge or his law clerks to request an adjournment.

4.     Oral Argument

        This Court will attempt to hear oral argument on each dispositive motion where any party
requests oral argument. If counsel wishes oral argument on a motion, the request is made by stating
“oral argument requested” underneath the caption of the motion. Pursuant to Local Rule 7.2(d), oral
argument will be scheduled by the Court at the earliest convenient date.

5.     Ex Parte Applications

       Ex parte applications are disfavored and should be avoided except in the most extreme
circumstances. Where such cases arise, the party submitting the application must state in the
application that opposing counsel has been contacted in an attempt to resolve the situation through
normal motion practice and why such an option is unsatisfactory, or, why contacting the opposing
party would be inappropriate under the circumstances. See Local Rule 7.1(d). Applications for
temporary restraining orders must comply strictly with the specific requirements of Fed. R. Civ. P.
65.

6.     Orders

        All orders and proposed orders which require the Judge's signature should be filed
electronically with the Clerk of Court.

        If the Court has instructed a prevailing party to submit an order, the prevailing party must
have the proposed order approved by opposing counsel before it is submitted to the Court for the
Judge's signature. In the event of a disagreement as to the form of an order the prevailing party may
bring a motion to settle the order.

        Whenever a motion to settle an order is made, costs and attorney's fees will be awarded
against an attorney who unreasonably withholds consent as to form.

7.     Transcripts of Court Proceedings

        If a transcript of a court proceeding is desired, the Court Reporter should be contacted
directly and a confirming letter sent. Transcripts will not be prepared unless ordered.

8.     Stipulations

       All stipulations should be submitted by electronic filing for the judge’s approval. An order
approving the stipulation shall be attached to the stipulation, or the stipulation itself can have "So
Ordered" with a place for signature and date.



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The Trial

1.     Courtroom Decorum

       The purpose of this paragraph is to describe certain basic principles concerning courtroom
behavior and decorum. The requirements stated in this rule are minimal, not all-inclusive, and are
intended to emphasize and supplement, not supplant or limit, the ethical obligations of counsel under
the Rules of Professional Conduct or the time honored customs of experienced trial counsel. These
requirements apply to all counsel and all persons at counsel table.

       a.      This Court expects all attorneys and parties to act with courtesy and respect toward
               everyone in the courtroom. Avoid disparaging personal remarks or acrimony toward
               opposing counsel and remain wholly detached from any ill feeling between the
               litigants or witnesses. Address all remarks to the Court, not to opposing counsel.
               Refer to all persons, including witnesses, other counsel and the parties, by their
               surnames and not by their first or given names.

       b.      Please treat the courtroom furniture with care. It has to last a long time. For
               example, do not put briefcases with metal feet on the tables.

       c.      Stand near the lectern while examining a witness and making statements to the jury;
               except that counsel may approach the Clerk's desk or the witness for purposes of
               handling or tendering exhibits. The recording system picks up lawyers' voices only
               when they are speaking into a microphone.

       d.      Offers of, or requests for, a stipulation should be made privately - not within the
               hearing of the jury.

       e.      Counsel shall admonish all persons at counsel table that gestures, facial expressions,
               audible comments, or the like, as manifestations of approval or disapproval, during
               the testimony of witnesses or at any other time, are absolutely prohibited.




2.     Jury Selection

       Counsel should submit an agreed statement of the case to be read to the jury
which explains in simple terms the nature of the case. Unless the case is very
complex, the summary should not exceed one paragraph. The purpose of the
summary is to acquaint the jury with the nature of the case and to provide a basis for
certain voir dire questions.

       In civil cases where jury trials have been demanded, the juries will generally be
selected as follows:




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       a.     The Deputy Clerk will call 14 names for the panel and such persons will
              be seated in the order they are called in the jury box in seats 1 through
              14.

       b.     The Court will then voir dire the jury asking its own questions and also
              questions proposed by the attorneys which have been submitted for
              review to the Court at or before the pretrial conference and which he
              considers appropriate. Attorneys will be permitted to participate in the
              questioning process under limits set by the Court.

       c.     The Court will excuse any prospective juror for cause where appropriate,
              and replace the excused juror, and the process will be repeated.

       d.     When the Court has determined that none of the 14 prospective jurors in
              the jury box should be dismissed for cause, the parties must exercise
              their peremptory challenges.

       e.     Each side in a civil case must exercise three peremptory challenges. See
              28 U.S.C. Section 1870. These challenges shall be exercised in three
              rounds, one challenge for each side in each round. Peremptory
              challenges will be exercised in writing away from the jury, and the Court
              will excuse all peremptorily-challenged jurors after all peremptory
              challenges have been exercised.

       f.     In a case with multiple plaintiffs or defendants, the Court may allow
              additional peremptory challenges. 28 U.S.C. 1870.


3.     Witnesses

       If a witness is not listed in the final pretrial order, the Court will not allow either
side to call the non-listed witness unless there is good cause shown. This, of course,
does not apply to rebuttal witnesses. However, rebuttal experts must always be
disclosed and listed in the final pretrial order.

4.     Exhibits

      If an exhibit has not been listed in the pretrial order, it will not be admitted in
the case in chief unless good cause is shown as to why it was not designated. All
exhibits, charts, blow-ups must be shown to counsel prior to the beginning of trial.
Do not wait until the witness is on the stand to show these items to opposing counsel.


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       The exhibits shall be clearly identified. In cases where counsel wishes to
publish the exhibits to the jury and the party intends to introduce more than 10
documents, counsel shall arrange to have all exhibits digitized for projection on the
large screen in the courtroom. Projection of exhibits is accomplished using the
evidence cart in the courtroom. Questions concerning use of the evidence cart should
be directed to the Systems Administrator for the U.S. District Court Clerk’s Office at
616.456.2381. In addition, five notebooks with the exhibits shall be prepared. The
exhibits should be divided and tabbed with the exhibit numbers. A list of the exhibits
(Attachment, Exhibit 1, to the Case Management Order) should be located in the front
of the notebooks. One set of notebooks is for the Court, one set is for the deputy clerk
in the courtroom, one set is for the use of the witnesses, and the other two are used by
counsel for the parties. When bringing a document to the attention of the Court and
witnesses, counsel asking the questions should refer to the notebook volume and
exhibit number.

       Offer exhibits into evidence as soon as the foundation has been laid. Often,
when lawyers wait until the end of the examination or the case to make the offer, the
witness has completely discussed the document during testimony and the document
is not in evidence.

        Offer exhibits that have identical foundation requirements in a group. It wastes
time to lay a separate foundation on several identical kinds of documents, showing the
witness one at a time. If they are all the same type of document, show the witness
exhibits 1 through 10, ask the witness to identify the exhibits and lay a foundation.
(i.e., checking account statements of John Doe for the months January through June,
1993.) If the parties have stipulated to the admissibility of exhibits before trial, those
exhibits will be admitted as a group after opening statements and before the first
witness is called. These stipulated exhibits can then be referred to without the
necessity of establishing a foundation.



5.    Recesses

       Before the jury arrives, and at each recess, you will be asked if there is anything
that should be raised before the next session. If there is some problem, I should be
advised before the jury returns to the jury box.

      I am aware that counsel may not be able to anticipate everything, but many
matters should and will be taken up during the recesses.



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6.    Scheduling

      Generally, cases are tried Tuesday through Friday. Trial begins at 8:30 AM and
recesses at 1:30 PM, with a 20-30 minute break mid-morning. This schedule is
subject to the other demands of my docket. You must have enough witnesses to fill
up the day.

7.    Deposition Designations, Motions In Limine, and Jury Instructions

       Deposition designations, motions in limine, and jury instructions must be filed
pursuant to the schedule set in the Case Management Order. The Court will not
entertain additional motions in limine or deposition designations unless good cause
is shown.




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